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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

 BMG RIGHTS MANAGEMENT (US) LLC, and                     )
 ROUND HILL MUSIC LP,                                    )
                                                         )
                            Plaintiff,                   )   Case No. 1:14-cv-1611 (LOG/JFA)
                                                         )
        v.                                               )
                                                         )
 COX ENTERPRISES, INC., COX                              )
 COMMUNICATIONS, INC., and                               )
 COXCOM, LLC,                                            )
                                                         )
                            Defendants.
                                                         )

                           MEMORANDUM IN SUPPORT OF COX’S
                               MOTION IN LIMINE NO. 2:

             (PLAINTIFFS MAY NOT REFER TO MERE USE OF BITTORRENT
                      OR AMOUNT OF BITTORRENT ACTIVITY
                          AS PROOF OF INFRINGEMENT)



                                          INTRODUCTION

        Pursuant to Federal Rules of Evidence 402, 403, 801, and 802, Cox respectfully moves in

 limine to preclude Plaintiffs from (1) testifying or arguing that mere use of BitTorrent is proof of

 infringement, (2) introducing or referring to documents stating that BitTorrent’s primary use is for

 infringement, or (3) introducing or referring to documents stating what proportion of data traffic on

 Cox’s network is BitTorrent traffic.

        Plaintiffs seek to introduce testimony and third-party hearsay — with inflammatory

 statements such as “File-Sharing Is Really About Piracy” — as proof that BitTorrent use equates to

 the existence of infringement. See, e.g., Dkt. No. 356, Ex. A at 62, 65-68 (Plaintiffs’ proposed trial

 Exhibit Nos. 1547, 1575-76, 1585-1607). Once they have argued that BitTorrent use is



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 automatically infringing, Plaintiffs seek to introduce other testimony and documents showing that

 some proportion of data traffic on Cox’s network is associated with BitTorrent in order to mislead

 the jury into thinking that Cox knew or should have known about the infringement that Plaintiffs

 allege. See, e.g., Dkt. No. 356, Ex. A at 59-60, 65-68, 82-83, 104, 132 (Plaintiffs’ proposed trial

 Exhibit Nos. 1491, 1498, 1499, 1505, 1508, 1579-84, 1589, 1736-43, 2082, 2429).

         Plaintiffs are free to try to prove that specific BitTorrent users on Cox’s network actually

 infringed Plaintiffs’ copyrights, but the Court should preclude Plaintiffs from relying on mere

 innuendo that BitTorrent inherently allows individuals to infringe Plaintiffs’ copyrights. Plaintiffs

 have no evidence that most or all use of BitTorrent, which is simply a communication protocol,

 constitutes infringement of Plaintiffs’ copyrights. Plaintiffs’s attempt to equate BitTorrent use with

 infringement of their copyrights would mislead the jury, and any marginal relevance about

 people’s general use of BitTorrent is substantially outweighed by the risk of prejudice and

 confusion. The Court should thus preclude it under Federal Rule of Evidence 403. Furthermore,

 statements in Plaintiffs’ proposed exhibits about BitTorrent are inadmissible hearsay because they

 are out-of-court statements that Plaintiffs seek to offer for their truth. FED. R. EVID. 801(c).

                                           BACKGROUND

         Plaintiffs claim that alleged infringers on the Cox network used software that

 communicates over the Internet using the BitTorrent protocol. Dkt. No. 16 ¶¶ 2, 22. BitTorrent

 allows computers to exchange files with one another. Dkt. No. 313 (Rucinski Decl.) ¶ 8.

 To receive a file, a given computer receives different portions of the file from many computers

 instead of receiving all portions of the file from a single computer. Id. In order to download or

 upload particular files using the BitTorrent protocol, a user can find or create a .torrent file. Id.

 The .torrent file identifies a set of files that can be shared using that .torrent file and a tracker
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 that can facilitate that sharing. Id. ¶ 9. The .torrent file itself does not contain any data from the

 files that can be shared using that .torrent file; it only contains metadata about them. Id.

         To be clear, setting up a .torrent file is not, by itself, an exchange of files. As a mere

 protocol, BitTorrent can be used for any exchange of files, not only files that infringe Plaintiffs’

 copyrights. Plaintiffs’ own expert explained, “It is important to note that BitTorrent is a file

 sharing protocol [that] does not attempt to distinguish the type of information being shared, or

 whether the Peers offering to share content are … entitled to provide copies under copyright

 law.” Dkt. No. 394, Ex. 2 (Report of Barbara Frederiksen-Cross) ¶ 33.

                                             ARGUMENT

         Under Rule 403, “[t]he court may exclude relevant evidence if its probative value is

 substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

 the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

 evidence.” Under Rules 801 and 802, hearsay, a statement that “(1) the declarant does not make

 while testifying at the current trial or hearing; and (2) a party offers in evidence to prove the truth

 of the matter asserted in the statement,” is generally inadmissible. Here, the risk of confusing

 issues and misleading the jury substantially outweighs any probative value of evidence about

 BitTorrent use generally or the amount of BitTorrent activity not specific to Plaintiffs’ copyrights.

 In addition, the out-of-court statements that Plaintiffs seek to introduce about BitTorrent in general

 are inadmissible hearsay.


 I.      THE COURT SHOULD PRECLUDE PLAINTIFFS FROM EQUATING BITTORRENT USE WITH
         INFRINGEMENT OF PLAINTIFFS’ COPYRIGHTS.

         The ability to use BitTorrent for uses that have nothing to do with Plaintiffs’ copyrights

 has not deterred Plaintiffs from using a broad brush to tar all BitTorrent activity as infringement.

 For example, Plaintiffs cite an article to argue that a significant proportion of content on
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 BitTorrent is infringing and that “BitTorrent is a file sharing protocol that has become the major

 channel for theft of copyrighted music and film.” Dkt. No. 386 at 2; Dkt. No. 441 at 16 (citing

 article entitled “NetNames Piracy Analysis: Sizing the piracy universe,” Dkt. No. 389, Ex. 29).

 Other articles and Internet postings that Plaintiffs seek to introduce similarly state a belief that

 BitTorrent is primarily or solely for infringing activity. See, e.g., Dkt. No. 356, Ex. A at 65-68

 (Plaintiffs’ proposed trial Exhibit Nos. 1575-76, 1585-1607); Dkt. No. 490, Ex. B ¶ 33.

 In addition, under the guise of putative “expert” opinion, Plaintiffs have taken the position that Cox

 could have monitored its network for that BitTorrent activity, with the unsupported assumption that

 such activity inherently is infringing. Dkt. No. 489 at 7.1

        Cox disputes Plaintiffs’ characterization of BitTorrent — it is demonstrably not true that

 there are no legitimate uses for BitTorrent. But in all events, regardless of what users might

 theoretically do with the BitTorrent protocol, the only relevant issue is what users did on the Cox

 network with respect to Plaintiffs’ copyrighted works at issue in this suit. Plaintiffs cannot

 escape their burden to prove specific infringements of their copyrighted works on Cox’s network

 by using BitTorrent activity as a proxy for infringement.

        Furthermore, since general BitTorrent activity does not signify infringement of Plaintiffs’

 copyrights, the Court should preclude Plaintiffs from arguing or introducing evidence about what

 proportion of data traffic on Cox’s network might be BitTorrent activity. Plaintiffs’ putative

 expert William Lehr, for example, opined that “BitTorrent does constitute a large and significant

 volume of traffic[,] nearly 27 percent of upstream peak traffic and nearly 3 percent of

 downstream traffic in North America, or nearly 5 percent of aggregate traffic.” Dkt. No. 490,




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  That opinion was offered by Plaintiffs’ expert Terrence P. McGarty. Cox has filed a Daubert
 motion to exclude Dr. McGarty’s opinions and testimony. Dkt. No. 489.
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 Ex. B ¶ 32.2 Plaintiffs have repeatedly pointed to general BitTorrent activity on Cox’s network

 as evidence that Cox should have known of infringement of Plaintiffs’ copyrights. See, e.g., Dkt.

 No. 386 at 5; Dkt. No. 389, Ex. 46 (third party Procera’s “Network Activity Report”). The

 danger that these general observations about BitTorrent, devoid of any association with

 infringement of Plaintiffs’ copyrights, will mislead and confuse the jury substantially outweighs

 any potential probative value.

 II.      DOCUMENTS THAT PURPORT TO QUANTIFY BITTORRENT ACTIVITY OR EQUATE
          BITTORRENT WITH INFRINGEMENT ARE INADMISSIBLE HEARSAY.

          The Court should also preclude Plaintiffs from introducing or relying on out-of-court

 documents and statements about the significance or prevalence of BitTorrent activity, because such

 statements are inadmissible hearsay. Plaintiffs plainly rely on those statements for their truth.

 For example, Plaintiffs offer network activity reports from third party Procera as evidence that

 BitTorrent accounted for a significant percentage of the data transmitted over Cox’s network. See,

 e.g., Dkt. No. 386 at 5. Plaintiffs cite statements in a report from third party Sandvine as evidence

 of the “popularity” of BitTorrent. Dkt. No. 490, Ex. B ¶ 32 n.53. Plaintiffs also seek to introduce

 numerous third party articles for their statements that BitTorrent use is primarily or almost

 entirely infringing. See, e.g., Dkt. No. 356, Ex. A at 62, 65-68 (Plaintiffs’ proposed trial Exhibit

 Nos. 1547, 1575-76, 1585-1607). As discussed, such statements have little or no probative value

 because they do not pertain to copyright infringement, let alone infringement of Plaintiffs’ works.

 But to the extent those documents are offered to prove the fact of certain volumes of BitTorrent

 traffic, or the actual uses and popularity of BitTorrent, they are inadmissible hearsay.




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     Cox has filed a Daubert motion to exclude Dr. Lehr’s opinions and testimony. Dkt. No. 389.
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                                          CONCLUSION

        For all the reasons above, the Court should preclude Plaintiffs from testifying or arguing

 that mere use of BitTorrent is proof of infringement, introducing or referring to documents stating

 that BitTorrent’s primary use is for infringement, or introducing or referring to documents stating

 what proportion of data traffic on Cox’s network is BitTorrent traffic.


                                                   Respectfully submitted,

 Dated: November 6, 2015                           /s/ Craig C. Reilly
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2015, the foregoing was filed and served

 electronically by the Court’s CM/ECF system upon all registered users.

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